38 F.3d 1218NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.
    William F. CONKWRIGHT, Helen Conkwright, husband and wife,Plaintiffs-Appellees,v.A C &amp; S, INC., a Pennsylvania corporation, Defendant,andAtlas Turner, Inc., Defendant-Appellant.
    No. 94-15066.
    United States Court of Appeals, Ninth Circuit.
    Submitted Sept. 12, 1994.*Decided Oct. 17, 1994.
    
      1
      Before:  FARRIS and BEEZER, Circuit Judges, and McLAUGHLIN,** District Judge.
    
    
      2
      MEMORANDUM***
    
    
      3
      Appellants A C &amp; S, Inc. and Atlas Turner appeal the district court's denial of its motion to set aside a default judgment.  Appellants contend that the district court lacked jurisdiction.  The legal issues are identical to those decided in Straub v. A.P. Green, Inc. et al., No. 92-16204 slip op. ----.  The Foreign Sovereign Immunities Act applies.  Appellants have minimum contacts with the relevant geographical area, the United States.  Conkwright substantially complied with the service of process requirements under Sec. 1608(b)(3).  We REMAND to determine whether appellants had actual notice of the complaint in 1986.
    
    
      
        *
         The panel finds this case appropriate for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         Hon.  Linda Hodge McLaughlin, United States District Judge for the Central District of California, sitting by designation
      
      
        ***
         This disposition is not appropriate for publication and may not be cited to or by the courts of this Circuit except as provided by Ninth Circuit Rule 36-3
      
    
    